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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,

         Plaintiff,

                 v.                                 CRIMINAL NO. 15-612 (PAD)

 DAVID GONZALEZ FERRER [8],

         Defendant.


                                            ORDER

       The court has evaluated the Report and Recommendation made by U.S. Magistrate Judge

Camille L. Vélez-Rivé regarding the Rule 11 proceeding of defendant, David González Ferrer

(Docket No. 97), to which no objections have been filed. The court finds the plea entered by the

defendant was knowingly, voluntary and intelligently entered with awareness of his rights and the

consequences of pleading guilty. The plea is therefore accepted and the defendant is adjudged

guilty as to Count One and Ten of the Indictment.

       The court notes that a Presentence Investigation Report was ordered (Docket No. 96). The

parties shall file their sentencing memoranda not later than August 23, 2016. The Sentencing

Hearing is set for September 2, 2016 at 9:30 a.m. in Courtroom 3.

       SO ORDERED.

       In San Juan, Puerto Rico, this 2nd day of May, 2016.

                                                     S/Pedro A. Delgado-Hernández
                                                     PEDRO A. DELGADO HERNANDEZ
                                                     United States District Judge
